      Case 3:19-cv-00389-MMD-WGC Document 69 Filed 01/11/21 Page 1 of 4




 1   CHRISTOPHER J. HICKS
     Washoe County District Attorney
 2

     WADE CARNER
 3
     Deputy District Attorney
 4
     Nevada State Bar Number 11530
     One South Sierra Street
 5   Reno, Nevada 89501
     (775)337-5700
 6   wcarner@da.washoecounty.us
     ATTORNEYS for WASHOE COUNTY SHERIFF'S OFFICE,
 7
     DEPUTY WALLITNER, AND DEPUTY WUEPPER
 8


 9                                UNITED STATES DISTRICT COURT


10                                       DISTRICT OF NEVADA

11                                                   *    *   -k



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     DEWAYNE FRANK RICHARDSON,
13
                    Plaintiff,                                     Case No. # 3:19-cv-00389-MMD-WGC
14
            vs.                                                    STIPULATION TO DISMISS WITH
15                                                                 PREJUDICE
     WASHOE COUNTY SHERIFF'S OFFICE, et
16
     al., DEPUTY WUEPPER, DEPUTY
17   WALTNER,

18                  Defendants.

19


20                         STIPULATION TO DISMISS WITH PREJUDICE

21          IT IS HEREBY STIPULATED by and between Plaintiff DEWAYNE RICHARDSON,
22   in pro per, and Defendants WASHOE COUNTY SHERIFF'S OFFICE, DEPUTY
23   WALLITNER and DEPUTY WUEPPER, by and through their counsel of record Wade Carner,
24   Esq. that Plaintiffs Complaint as against these Defendants shall be dismissed with Prejudice,
25   with all parties to bear their own fees and costs.
26
     ///




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      Case 3:19-cv-00389-MMD-WGC Document 69 Filed 01/11/21 Page 2 of 4




 1

 2   DATED: January 11,2021.              DATED: December       ,2020.

 3                                        DEWAYNE RICHARDSON, Plaintiff
     CHRISTOPHER J. HICKS
 4          District Attorney

 5

 6   WADE CARNER                          DEWAYNE RICHARDSON
     Deputy District Attorney
 7   One South Sierra Street
     Reno, Nevada 89501
 8   wcarner@da.washoecounty.us
     (775)337-5700
 9   ATTORNEYS FOR DEFENDANTS

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13    IT IS SO ORDERED.
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      Dated: 1/11/2021                        ________________________
                                              Chief U.S. District Judge
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 Case 3:19-cv-00389-MMD-WGC Document 69 Filed 01/11/21 Page 3 of 4




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     2   DATED: December j£, 2020.          DATED: December ^,2020.
     3
                                            DEWAYNE RICHARDSON, Plaintiff
         CHRISTOPHER J. HICKS
     4          District Attorney
     5
                By
 6       WADE CARNER                        DEWAYNE RICHARDSON
         Deputy District Attorney
 7       One South Sierra Street
         Reno, Nevada 89501
     8   wcarner@da.washoecounty.us
         (775)337-5700
 9       ATTORNEYS FOR DEFENDANTS

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 1                                     CERTIFICATE OF SERVICE

 2           Pursuant to Fed.R.Civ.P. 5(b), I certify that I am an employee of the Office of the District

 3   Attorney of Washoe County, over the age of 21 years and not a party to nor interested in the

 4   within action. I certify that on this date, I mailed a true and correct copy of the foregoing to

 5   Plaintiff at:

 6   Dewayne Richardson
     Inmate #1011334
 7   Ely State Prison
     P.O. Box 1989
 8
     Ely,NV 89301
 9
             Dated: January 11, 2021
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                                                             Brenna Bull
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